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                        VIRGINIA STATE BAR

                  CERTIFICATE OF GOOD STANDING
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      THIS IS TO CERTIFY THAT ERIK BENTON MILCH IS AN ACTIVE MEMBER OF THE VIRGINIA
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STATE BAR IN GOOD STANDING. MR. MILCH,£#4
                                     WAS LICENSED TO PRACTICE LAW IN VIRGINIA ON
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APRIL 27, 2001, AFTER SUCCESSFULLYPASSINGTHEBAREXAMINATION GIVEN BY THE BOARD OF
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BAR EXAMINERS.

Issued September 14, 2022




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